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 7    Plaintiﬀs
                                                        [Additional Counsel Listed on Signature
 8    [Additional Counsel Listed on Signature           Page]
      Page]
 9
10                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEVADA
11
      CUNG LE, NATHAN QUARRY, JON FITCH,                 No.: 2:15-cv-01045-RFB-BNW
12    BRANDON VERA, LUIS JAVIER VAZQUEZ,
13    AND KYLE KINGSBURY, on behalf of
      themselves and all others similarly situated,
14
                            Plaintiffs,
15
             v.
16
      Zuffa, LLC, d/b/a Ultimate Fighting
17    Championship and UFC,
18                          Defendant.
19                                                       No.: 2:21-cv-01189-RFB-BNW
      KAJAN JOHNSON and CLARENCE
20    DOLLAWAY, on behalf of themselves and all
      others similarly situated,
21
                              Plaintiﬀs,
22            v.
23    ZUFFA, LLC (d/b/a Ultimate Fighting
      Championship and UFC) and Endeavor Group
24    Holdings, Inc.,
                              Defendants.
25
26
27                         SCHEDULING STIPULATION FOR BRIEFING
                              ON DISCOVERY IN LE AND JOHNSON
28


                                                       Nos: 2:21-cv-01189-RFB-BNW, 2:15-cv-1045-RFB-BNW
                            SCHEDULING STIPULATION FOR BRIEFING
                              ON DISCOVERY IN LE AND JOHNSON
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 1           Plaintiffs Kajan Johnson and Clarence Dollaway (“Plaintiffs”) and Defendants Zuffa
 2   LLC (“Zuffa”) and Endeavor Group Holdings, Inc. (“Endeavor,” together with Zuffa,
 3   “Defendants,” and collectively with Plaintiffs: the “Parties”), submit this stipulation on the
 4   briefing schedule for resolving the Parties’ dispute regarding whether discovery taken in Le v.
 5   Zuffa, No. 15-cv-0145 (D. Nev.) (“Le”) may be treated as taken in Johnson v. Zuffa, No. 21-cv-
 6
     01189 (D. Nev.) (“Johnson”) and whether discovery taken in Johnson may be treated as taken in
 7
     Le.
 8
             On September 22, 2023, the parties submitted a Joint Discovery Plan and Scheduling
 9
10   Order that, in relevant part for the purposes of this stipulation, stated:
             The Parties are cognizant of the overlap between certain factual matters in the Le and
11
             Johnson cases. As a result, the Parties are meeting and conferring in an effort to come to
12           agreement on whether discovery in each of the two actions should be treated as though
             taken in the other action, and if so, whether there should be any restrictions on such
13           usage. Within the next thirty days, the Parties will either bring a stipulation to the Court
14           for approval, or agree on an expedited briefing process to have the Court resolve the
             issue.
15
     ECF No. 82 at 9. The Parties have conferred but failed to reach agreement on the issue of
16
     whether discovery in each of the two actions should be treated as though taken in the other
17
     action, and if so, whether there should be any restrictions on the use of such discovery.
18
     Accordingly, and pursuant to Local Rule 7-2, the Parties have agreed to the following briefing
19
     schedule:
20
21
                       Case Event                                                 Date
22    Defendants’ Motion re Johnson Discovery             October 26, 2023
23    Plaintiffs’ Opposition re Defendants’ Motion        November 9, 2023
      Defendants’ Reply re Plaintiffs’ Opposition         November 16, 2023
24
25           The foregoing stipulation does not affect the briefing schedule the Court has already set
26   for the motion the Court authorized Defendant Zuffa, LLC to file seeking to re-open discovery in
27
                                                        Nos: 2:21-cv-01189-RFB-BNW, 2:15-cv-1045-RFB-BNW
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                              SCHEDULING STIPULATION FOR BRIEFING
                                ON DISCOVERY IN LE AND JOHNSON
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 1   Le v. Zuffa, LLC, No. 15-cv-1045 (D. Nev.), as set forth in ECF No. 847. Those deadlines remain

 2   as follows:

 3
                                 Case Event                                  Deadline
 4    Defendant Zuffa, LLC’s Motion to Re-Open Discovery in Le v.      October 24, 2023
      Zuffa, LLC
 5    Plaintiffs’ Opposition re Defendant’s Motion                     November 21, 2023
 6    Defendant’s Reply re Plaintiffs’ Opposition                      December 19, 2023

 7
     DATED: October 13, 2023                    Respectfully Submitted,
 8
 9                                              By:           /s/Eric L. Cramer
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                           SCHEDULING STIPULATION FOR BRIEFING
28                           ON DISCOVERY IN LE AND JOHNSON
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